968 F.2d 1226
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.ASTRONICS CORPORATION and Rodgard Corporation, Plaintiffs-Appellants,v.Theodore C. PATECELL and The Patecell Corporation,Defendants-Appellees.
    No. 92-1038.
    United States Court of Appeals, Federal Circuit.
    May 11, 1992.Rehearing Denied June 4, 1992.Suggestion for Rehearing In BancDeclined June 17, 1992.
    
      Judgment
      PER CURIAM:
    
    
      1
      Before MAYER, MICHEL and PLAGER, Circuit Judges.
    
    
      2
      AFFIRMED.  See Fed.Cir.R. 36.
    
    